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IN THE UNITEI) STATED DIsTRICT COURT

FOR THE DISTRICT OF MARYLAND
(Northern Division)
KOURI DUNKLE '
Plaintiff
14225 Basore Drive
Hagerstown, Maryland 2 l 742
v. Civil Action Number:
FIRST DATA TECHNOLOGIES, INC.
d/b/a/ First Data
7 St. Paul Street, Suite 820
Baltimore, Maryland 21202
Serve on Resident Agent:
CSC-LAWYERS INC. Service C0.

7 ST. PAUL STREET, SUITE 820
BALTIMORE, MD 21202

and

WAGE WORKS

d/b/a/Benefit Concepts, a division of
Wage Works

1100 PARK PLACE, 4th Floor

SAN MATEO, CA 94403

Serve on Resident Agent: "'
NATIONAL REGISTERED AGENTS, ""

INC. OF MD. *
351 W CAMDEN STREET *
BALTIMORE, MD 2120] *

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COMPLAINT
Plaintiff Kouri Dunkel, by her attorneys, respectfully flles this Cornplaint alleging that
Defendants violated the Consolidated Ornnibus Budget Reconciliation Act of 1985, as amended
(“COBRA”), the Employee Retirement Incorne Security Act of 1974 (ERISA) and states as

follows:

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PARTIES

. Plaintiff Kouri Dunkle [hereinafter Plaintift] is an adult resident of the state of

Maryland.

Plaintiff Worked for Defendant First Data Technologies lnc. [herineafter Defendant
First Data] in the State of Maryland April 14, 2014 until August 12, 2014, When she
Was forced to stop Working completely.

Plaintiff Worked full-time as a ‘merchants service’.

Plaintiff s “AETNA” medical insurance plan correspondence states that her employee

health insurance Was provided by Defendant First Data.

. Defendant First Data uses and/or appoints as agent Defendant Wage Works, lnc. and

its division Benefits Concepts lnc, to administer employee benefits of employees,
including Plaintiff s.

Defendant Wage Works, Inc., corresponded With Plaintiff directly while styling itself
as both Wage Works, Inc., and as a “Benefit Concepts, a division of Wage Works,
Inc.” [hereinafter “Wage Works”].

At all times relevant to this Complaint, Plaintiff Worked for and/or suffered injuries

from Defendants First Data and Wage Works.

II. STATEMENT OF FACTS PERTAINING TO COBRA VIOLATIONS
Plaintiff Was employed by Defendant First Data and participated in Defendant First
Data’s health and dental insurance plans.

Plaintiff Was a satisfactory employee at her job at all times relevant to this Complaint

before she became ill in 2014.

 

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10. Defendant First Data employed more than twenty (20) employees when Plaintiff was
employed by it.

l 1. Plaintiff became ill in 2014 and requested and received a leave of absence from
Defendant First Data from August 12, 2014, through September 12, 2014.
Unfortunately, Plaintiff was never able to return to work for Defendant First Data
after September 12, 2014.

12. Plaintiff received correspondence on December 11, 2014, advising that Benefits
Concepts Inc. a division of Defendant Wage Works, Inc., was the COBRA
Administrator of her health insurance plans.

13. The Plan administrator of Plaintiff s medical and dental plans was also either and/or
both Defendants Wage Works Inc. and/or Benefit Concepts upon information and
belief and subject to evidence produced in discovery during litigation.

14. Plaintiff stopped working on or about August 12, 2014, due to medical problems

15. Defendant First Data on September 5 , September 15, September 19, October 10, and
on October 31, 2014, issued paychecks to Plaintiff indicating and communicating that
Plaintiff remained employed and that her health insurance premiums were being paid
through accrued sick days, vacation days, and through other means and benefits. (See
Exhibit 1 ~ attached paystubs)

16. On December 4, 2014, Plaintiff was not terminated for gross misconduct but rather
due to her being medically unable to work retroactively to September 12, 2014. See
Exhibit 2 - letter from Defendant First Data to Kouri Dunkel).

17. Plaintiff did not receive the required COBRA notice following her stopping work in

August 2014 and could not return to work for the Defendant First Data, even though

 

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stopping working was a qualifying event under the COBRA statute and even though
the COBRA election notice was due within forty four (44) days of her stopping work.
On December 11, 2014, Defendants Wage Works and Benefit Concepts attempted to
back date Plaintiff`s “Cobra election notice” to September 12, 2014, even though no
COBRA election notice was sent prior to December 11, 2014 . See (Exhibit 3 -
COBRA election notice sent to Kouri Dunkel from Defendant Wage Works)

At the time that Defendants sent the December 11, 2014 COBRA notice, they knew
that Plaintiff had not received a COBRA notice within fourteen (14) days of her
cessation of work on August 12, 2014 or her retroactive termination date of
September 12, 2014..

At the time that Defendants sent the December 11, 2014 COBRA notice, they knew
that Plaintiff had not received a COBRA election notice within the appropriate time
period required in the COBRA statute and attempted to charge Plaintiff for all
COBRA premiums due and owing from September 2014 through December 2014
even though Plaintiff already had health insurance premiums deducted from her pay

checks from August 12, 2014 through October 31, 2014l

On December 11, 2014, Defendants Wage Works and Benefit Concepts Inc. also
notified Plaintiff that she was fully financially responsible for all medical bills
incurred prior to the election of her first payment of COBRA coverage that could only

be made after December 11, 2014. (See Exhibit 3 at p. 2)

. Plaintiff has sustained damages as a result of Defendants’ COBRA violations .

 

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23. Plaintiff has incurred extensive medical expenses that she may still be financially
responsible for because the expenses were incurred prior to the payment of her
COBRA premiums

24. STATEMENT OF FACTS PERTAINING TO ERISA VIOLATION

25. All preceding factual allegations in paragraphs 1-23 are incorporated herein.

26. Defendant First Data and/or Defendant Wage Works, jointly and/or separately,
constitute the Plan Administrator of the First Data health and dental insurance plan
and are fiduciaries as that term is defined under ERISA under 29 U.S.C. 1002 (21)
(A)

27. Defendant First Data was also a fiduciary under ERISA because it was entrusted with
employee funds for remittance to a claims administrator along with any employer
contributions

28. Defendant Wage Works was also a fiduciary under ERISA because it managed the
health insurance plan including sending out COBRA election notices and provide
other relevant information about health insurance benefits

29. Defendants were aware that Plaintiff was employed by Defendant First Data through

at least September 12, 2014, See Exhibits 2 &3 .

30. During the fall 2014, Plaintiff had extensive medical treatment for Crohn’s disease
and an anovaginal fistula, including several days of treatment at Johns Hopkins
Hospital.

31. Plaintiff’s medical treatment and bills for the surgery, medication and follow-up care

were initially approved as medically necessary by Defendants after August 12, 2014

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. Defendants knew or should have known that Plaintiff had paid health insurance
premiums through October 31, 2014. See EXhibit l

Defendants had a fiduciary duty under ERISA to send or use monies due and owing
to Plaintiff for payments of premiums to continue her health insurance coverage..
Defendants breached their fiduciary duty under ERISA by not sending or using
Plaintiff s accrued benefits and/or monies for payments of premiums and
retroactively requiring her to pay health insurance premiums through COBRA
between August 12, 2014 and October 31, 2014.

Defendants breached their fiduciary duty under ERISA by retroactively annulling
and/or disregarding and/or ignoring any payment of premiums through October 31,
20 l 4.

On or after December 2014, Defendants breached their fiduciary duty under ERISA
by changing Plaintiff s dates of health insurance coverage from ongoing coverage
backwards to September 12, 2014, a termination date. See EXhibit 2 & 3.
Defendants also breached their fiduciary duty by failing to advise Plaintiff about her

rights under COBRA from August 12, 2014, when she stopped working through

December 11, 2014.

. Defendants took the actions listed above for their own financial benefit.
Plaintiff would not have sought the medical care with knowledge of lack of medical
insurance, and/or would have continued her medical insurance coverage under

workplace rules if she had known that her health insurance coverage would be

retroactively cancelled back to September 12, 2014, and not timely continued under

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COBRA, and that her payment of health insurance premiums had not taken place
and/or would be annulled and disregarded in part or in whole.
JURISDICTION & VENUE
This Court, pursuant to 28 U.S.C. § 1331, has original subject matter jurisdiction over
this matter based on 29 U.S.C. §§ 1161 et seq., COBRA post-employment health
insurance continuation coverage.
The unlawful acts occurred in this District.
Defendants do business regularly and continuously in this District.
VIOLATIONS OF LAW
§§OUNT I - COBRA VIOLATI§ )N
FAILURE TO PROVIDE TIMELY NOTICE UNDER COBRA

Plaintiff reiterates, re-alleges and incorporates by reference all allegations
contained in this Complaint in their entirety in paragraphs 1 through 39.
Plaintiff is and was a “covered employee” within the meaning of COBRA, at all
relevant times to this lawsuit.

The Defendants’ “group health plan” was a plan within the meaning of COBRA.

Plaintiff’ s stopping work in August 2014 is and was a “qualifying event” within the

meaning of 29 U.S.C. §1163(2) because her working hours were reduced to zero.
Plaintiff’ s termination retroactive to September 2014 was also a qualifying event
within the meaning of 29 U.S.C. 1163 (2).

Defendants were required to notify Plaintiff of her right to elect to continue health
insurance coverage for 29 months following her stopping work, pursuant to 29

U.s.c. §1162(2)(3)(1).

 

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46. Defendants were required to notify Plaintiff that she had fourteen (14) days from the
date of stopping work to elect COBRA continuation coverage, pursuant to 29 U.S.C.
§1165(a)(l)(B).

47. Defendants were required to notify Plaintiff of her right to elect continuation
coverage under COBRA within fourteen (14) days of her stopping work and also her
termination, pursuant to 29 U.S.C. §§ 1166.

48. Defendants failed to notify Plaintiff of her right to elect COBRA continuation
coverage in a timely manner.

49. Defendants violated the notice requirements of COBRA.

50. As a result of Defendants’ violation of federal law, Plaintiff was not allowed to
continue health insurance coverage in a timely manner and suffered monetary
damages including but not limited to being forced to pay for double health insurance
premiums after a lengthy in-patient hospitalization EXhibit 4 ~ letter from Kaouir
Dunkle to First Data and Wage Works. Dated December 28, 2014.

51. Relief Reguested: Plaintiff respectfully requests that: (a) judgment be entered in their

favor; (b) Plaintiff be awarded the full statutory penalty for each day Defendants
violated COBRA; (c) Defendants be required to pay for and reimburse Plaintiff and
others for all damages and losses sustained by Plaintiff; (d) Plaintiff be provided all
other relief that may be necessary to make Plaintiff whole for the wrongs committed
against by Defendants;(e) pre- and post-judgment interest be awarded; and (f)
attorney fees and costs be awarded to Plaintiff.
VIOLATIONS OF LAW
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BREACH OF FIDUCIARY DUTIES UNDER
SECTION 502 (A) (3) OF ERISA

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Plaintiff reiterates, re-alleges and incorporates by reference all allegations

contained in this Complaint in their entirety. In paragraphs 1 through 51.
Defendants breached their fiduciary duties as set forth in this Complaint.

Relief Reguested Plaintiff respectfully requests that: (a) judgment be entered in their
favor; (b) Plaintiff seeks declaratory and injunctive relief that she was covered by
health insurance premiums paid to Aetna between August 12, 2014 and October 31,
2014 and that she should not have to pay COBRA premiums during that period of
time from August 12, 2014 through October 31, 2014 and/or that all medical bills
previously paid by Aetna cannot be withdrawn or subject to lesser payment; (c)
Defendants be required to pay for and reimburse Plaintiff and others for all other
damages and losses sustained by Plaintiff; (d) Plaintiff be provided all other relief that
may be necessary to make Plaintiffs whole for the wrongs committed against by

Defendants; (e) pre- and post-judgment interest be awarded; and (f) attorney fees and

costs be awarded to Plaintiff.

 

 

 

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Gregg H. Md/sson,/ Bar # 30178
Lebau & Neuworth, LLC

606 Baltimore Avenue - Suite 201
Baltimore, Maryland 21204

tel. 410.296.3030

faX. 410.296.8660

Attomeys for the Plaintiff

 

 

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 171 1 day of July 2015, l served a copy

of the complaint on the Honorable Jacob Lew, Secretary of the Treasury, 1400 Pennsylvania

Avenue, N.W., Washington, D.C. 20006 and the Honorable Thonias Perez, Secretary of

Labor, 200 Constitution Avenue, N. W., as `n t , D.
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